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                                                               Friday, 14 September, 2018 02:57:22 PM
                                                                           Clerk, U.S. District Court, ILCD

                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF ILLINOIS
                             SPRINGFIELD, ILLINOIS

SAJIDA AHAD, MD, on behalf of herself             )
and all others similarly situated,                )
                                                  )
              Plaintiff,                          )
                                                  )
v.                                                )       Cause No. 15-cv-03308
                                                  )
BOARD OF TRUSTEES OF                              )
SOUTHERN ILLINOIS UNIVERSITY                      )
SIU PHYSICIANS & SURGEONS, INC.,                  )
d/b/a SIU HEALTHCARE                              )
                                                  )
              Defendants.                         )

              DEFENDANTS’ RESPONSE TO PLAINTIFFS’ RENEWED
                  MOTION FOR SETTLEMENT CONFERENCE

       NOW COMES Defendants, Board of Trustees of Southern Illinois University and

SIU Physicians & Surgeons, Inc. by and through their attorneys, HeplerBroom, LLC, and

for their response to Plaintiffs’ Renewed Motion for Settlement Conference, state as

follows:

       1.     On September 4, 2018, Plaintiffs filed a Renewed Motion for Settlement

Conference (“Renewed Motion”) seeking a settlement conference before Magistrate

Judge Schanzle-Haskins.

       2.     In response to the Renewed Motion, Defendants incorporate their response

to Plaintiffs’ Motion for Settlement Conference (“Original Motion”), filed July 10, 2018,

(d/e #91) specifically the authority set forth therein that settlement conferences should not


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be scheduled unless both parties wish to participate as otherwise they are likely to be

unproductive.

      3.     On August 24, 2018, defense counsel communicated Defendants’ position

regarding a potential settlement conference to Plaintiffs’ counsel. In the Renewed Motion,

Plaintiffs do not directly address Defendants’ position. Defendants advised Plaintiffs as

follows:

             With regard to a settlement conference, Defendants would agree to jointly
             request Magistrate Judge Schanzle-Haskins to conduct a conference subject
             to the following:

             a.     Defendants will not entertain any discussion of a settlement on a
                    class or collective basis. We will only discuss the claims of the four
                    plaintiffs, and Dr. Ahad’s claim would include the DOL claim as well
                    as the pending employment claims.

             b.     The Plaintiffs must agree to participate in person.

             c.     With regard to Dr. Rotondo, she is in breach of her settlement
                    agreement and SIU will not pay her any amount.

      4.     With regard to Defendants’ first point (class/individual resolution), as

Defendants set forth in their response to the Original Motion, the fact that Plaintiff and

her counsel have chosen to make allegations of class claims does not require Defendants

to offer any settlement on that basis. Plaintiffs’ previous demand for settlement on that

basis was rejected and Defendants’ position remains the same. Moreover, in light of the

court’s denial of Class Certification on September 12, 2018, the Defendants definitively




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reject any discussions on a class basis. Thus, if the Plaintiffs insist on seeking settlement

on a class or collective basis, a settlement conference would be futile.

         5.       Further, Defendants advised Plaintiffs that they would agree to a settlement

conference if the plaintiffs participated in person. Plaintiffs cite the fact that three of the

five Plaintiffs who have chosen to bring or join this suit reside out of state. However, each

of those Plaintiffs have chosen to participate in a lawsuit in the Central District of Illinois.

Nevertheless, apparently, now do not want to travel to attend a settlement conference

that their own counsel has twice requested. If a settlement conference is to have any

reasonable opportunity of success, the individual plaintiffs must have a sufficient interest

that they are willing to attend in person.

         6.       Finally, one of the five1 plaintiffs, Dr. Erica Rotondo who practices in

California, left SIU with a negotiated settlement agreement in lieu of what likely may

have been a discharge based upon her individual conduct. Dr. Rotondo’s choice to opt

into this lawsuit is a breach of her previous settlement agreement, giving rise to a claim

by SIU against her. Dr. Rotondo will not be offered any settlement as she is currently in

breach of her original settlement agreement.




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 One of the five plaintiffs, Dr. Carol Bauer, opted in on August 31, 2018. Defendants believe that her opt in—coming
10 months after notice and after all discovery and briefing related to Defendants’ motion to de-certify the collective
action was completed—is substantially late and prejudicial to Defendants. Thus, Defendants intend to challenge her
ability to opt-in at this late date. However, if the Court after considering Defendants’ position orders a settlement
conference, as a practical matter she should be required to participate as well, given the issue before the Court on the
pending motion to de-certify is whether she could join this action or is required to file her own action and, thus,
Defendants would not object to her participation, without waiving their objection to her opt-in.


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       7.     Plaintiffs counsel characterizes Defendants’ three points as “pre-

conditions” to a settlement conference. No matter what you call them, they are the

parameters under which Defendants’ believe there is any potential benefit to the Court

convening a settlement conference. Thus, it is important that the Court be aware of

Defendants’ position before committing the time and the resources to a settlement

conference.

       8.     Assuming that the Plaintiffs agree to the parameters of a settlement

conference, such a conference should be scheduled at a time that all of the required

participants could participate in person. In addition to the Plaintiffs, representatives of

the two Defendants in this lawsuit, and SIU’s insurance carrier (AIG), and an appropriate

representative from SIU Physicians & Surgeons, Inc.’s carrier, Allied World Specialty

Insurance Company, would have to participate. That company is currently engaged in a

declaratory judgment with SIU Physicians and Surgeons, Inc., which is represented by

separate counsel (Case No. 17-cv-3139).




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                                    Respectfully Submitted,

                                    Board of Trustees of Southern Illinois University
                                    and SIU Physicians & Surgeons, Inc., d/b/a SIU
                                    Healthcare, Defendants

                                    By: /s/ Thomas H. Wilson

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                                PROOF OF SERVICE

       I hereby certify that on this 14th day of September, 2018, I caused to be
electronically filed the foregoing document with the Clerk of the Court using the CM/ECF
system, which will send notification of such filing(s) to all counsel of record.

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                                                 /s/ Thomas H. Wilson




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